Case 6:22-cv-00047-WWB-RMN Document 104 Filed 09/15/23 Page 1 of 3 PageID 2557




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                           Case No.: 6:22-cv-0047-WWB-RMN

 BETHUNE-COOKMAN UNIVERSITY,
 INC.,

        Plaintiff,

 v.

 DR. MARY MCLEOD BETHUNE
 NATIONAL ALUMNI ASSOCIATION,
 INC.; MARY MCLEOD BETHUNE
 NATIONAL ALUMNI ASSOCIATION,
 INC., and JOHNNY L. MCCRAY, JR.,
 Individually,

      Defendants.
 _________________________________/
                         PLAINTIFF’S MOTION FOR CONTEMPT

        On June 30, 2023, Plaintiff Bethune-Cookman University, Inc. (“the University”)

 filed its Renewed Motion to Compel [D.E. 79] (“Motion”), which the Court granted [D.E.

 83; “Order”], awarding reasonable attorney’s fees incurred related to the Motion. [Id. at

 13.] On July 26th the University filed its Verified Motion for Attorneys’ Fees [D.E. 84; “Fee

 Motion”]. On August 4th the Court ordered Defendants (jointly and severally) to “pay

 Plaintiff the amount of $18,792.00 within 30 days.” [D.E. 87 at 3; “Fee Award Order.”] To

 date, Defendants have failed to make any payment and simply refused to respond to

 multiple requests to confer as to their noncompliance with this Court’s Order.

        Pursuant to Rule 37, a party’s failure to comply with an order warrants holding the

 party in contempt. See Fed. R. Civ. P. 37(b)(2)(A)(vii). “A party moving for contempt

 bears the burden of establishing by clear and convincing evidence that: (1) the allegedly

 violated order was valid and lawful; (2) the order was clear, definite, and unambiguous;
Case 6:22-cv-00047-WWB-RMN Document 104 Filed 09/15/23 Page 2 of 3 PageID 2558




 and (3) the alleged contemnor had the ability to comply with the order.” Wyndham

 Vacation Ownership, Inc. v. Clapp Bus. L., LLC, 2020 WL 3266059, at *3 (M.D. Fla. Apr.

 2, 2020) (cleaned up). Sanctions for civil contempt include “a coercive daily fine, a

 compensatory fine, attorney's fees” and other coercive penalties. Id.

        The Fee Award Order was valid and lawful pursuant to the requirements of Rule

 37. Fed. R. Civ. P. 37(a)(5)(A); [D.E. 87]. The Fee Award Order was clear and

 unambiguous, directing Defendants to pay the University $18,792.00 within 30 days.

 [D.E. 87 at 3.] Recent financial reports produced in discovery reflect Defendants’ ability

 to comply with the Fee Award Order.1 Defendants filing “objections” to the Order [D.E. 85]

 did not stay or toll their obligation. TemPay, Inc. v. Biltres Staffing of Tampa Bay, LLC,

 929 F. Supp. 2d 1255, 1260 (M.D. Fla. 2013) (objection to magistrate judge's non-

 dispositive order “does not stay the order or relieve the party of the obligation to comply”).

 Further, Defendant Johnny McCray, Jr., Esq. (jointly and severally responsible), is a

 Florida Bar Member, Officer of the Court, and held to a higher standard for compliance

 with this Court’s orders.2

        Accordingly, the University respectfully requests an Order (i) finding Defendants in

 civil contempt; (ii) requiring Defendants to pay the University $18,792.00 immediately,

 plus a civil penalty of $1,000 per day of noncompliance; (iii) requiring Defendants to pay




 1 Although Defendants have never claimed inability to comply (nor any other reason),

 such documents, subject to a Confidentiality Stipulation, can be filed under seal if deemed
 necessary.
 2 See., e.g., Coane v. Ferrara Pan Candy Co., 898 F.2d 1030, 1033 (5th Cir. 1990) (as

 officers of the court attorneys owe duty to court far exceeding that of lay citizens).
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Case 6:22-cv-00047-WWB-RMN Document 104 Filed 09/15/23 Page 3 of 3 PageID 2559




 the University’s attorneys’ fees and costs associated with this Motion; and (iv) other relief

 the Court deems appropriate.

                      CERTIFICATE OF GOOD FAITH CONFERRAL

        Pursuant to L.R. 3.01(g), the undersigned certifies that on September 7, 2023,

 September 8, 2023, and September 14, 2023, the University’s counsel contacted

 Defendants’ counsel of record via email, inquiring about Defendants’ noncompliance with

 the Fee Award Order and requesting counsel’s availability to meet and confer regarding

 same, but to date Defendants’ counsel has failed or refused to even respond to all such

 requests.

                                                   Respectfully submitted,

                                                   s/Gregory W. Herbert
                                                   Gregory W. Herbert
                                                   Florida Bar No. 0111510
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                                                   Orlando, Florida 32801
                                                   Telephone No. (407) 420-1000

                                CERTIFICATE OF SERVICE

       I certify that on September 15, 2023, the foregoing was electronically filed with the
 Court by the CM/ECF system, which will send a notice to counsel of record.

                                                   s/Gregory W. Herbert




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